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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY


 John Doe.
                                                        Case No. 2:21-cv-20706
                Plaintiff,

        v.

 Baila Sebrow

                Defendant

                     NOTICE OF MOTION TO DISMISS DEFENDANT
                        BAILA SEBROW’S COUNTERCLAIMS

       PLEASE TAKE NOTICE that on November 21, 2022, at 10:00 a.m., or such other time

as fixed by the Court, the undersigned attorney for the plaintiff, JOHN DOE, will move before

the United States District Court of the District of New Jersey, to dismiss Defendant Baila

Sebrow’s counterclaims against Plaintiff.

       In support of this motion, the Plaintiff will submit the Declaration of Daniel S.

Szalkiewicz, Esq and Brief in Support. A proposed Order is also submitted herewith pursuant to

Local Rule 7.1(e).

Dated: October 21, 2022
       New York, New York
                                                     Respectfully submitted,

                                                     /s/Daniel Szalkiewicz
                                             By:     Daniel S. Szalkiewicz, Esq. (DS2323)




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